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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                             )
                                                      )
                       Plaintiff,                     )
                                                      )       4:08CR3025
       vs.                                            )
                                                      )       PRELIMINARY ORDER
CONNE BARGER,                                         )       OF FORFEITURE
MATTHEW GENTRY,                                       )
                                                      )
                       Defendants.                    )

       NOW ON THIS 27th day of May, 2008, this matter comes on before the Court upon the

United States' Motion for Issuance of Preliminary Order of Forfeiture. The Court reviews the record

in this case and, being duly advised in the premises, finds as follows:

       1. The Defendants have entered into Plea Agreements, whereby they have agreed to plead

guilty to Counts I and III of said Indictment. Count I of said Indictment charges the Defendant with

conspiracy to distribute cocaine base, a violation of 21 U.S.C. § 846. Count III of said Indictment

charges the Defendant with using $461.00 in United States currency to facilitate the commission of

the conspiracy and charges said personal property is derived from proceeds obtained directly or

indirectly as a result of the commission of the conspiracy.

       2. By virtue of said pleas of guilty, the Defendants forfeit their interest in the subject

property, and the United States should be entitled to possession of said property, pursuant to

21 U.S.C., § 853.

       3. The United States' Motion for Issuance of Preliminary Order of Forfeiture should be

sustained.

       IT IS THEREFORE ORDERED, ADJUDGED AND DECREED as follows:
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       A. The United States' Motion for Issuance of Preliminary Order of Forfeiture is hereby

sustained.

       B. Based upon Count III of the Indictment and the Defendant's plea of guilty, the United

States is hereby authorized to seize the $461.00 in United States currency.

       C. The Defendants’ interest in said property is hereby forfeited to the United States for

disposition in accordance with the law, subject to the provisions of 21 U.S.C., § 853(n)(1).

       D. The aforementioned forfeited property is to be held by the United States in its secure

custody and control.

       E. Pursuant to 21 U.S.C., § 853(n)(1), the United States forthwith shall publish at least once

for three successive weeks in a newspaper of general circulation, in the county where the subject

property is situated, notice of this Order, Notice of Publication evidencing the United States’ intent

to dispose of the property in such manner as the Attorney General may direct, and notice that any

person, other than the Defendants, having or claiming a legal interest in any of the subject forfeited

property must file a Petition with the court within thirty days of the final publication of notice or of

receipt of actual notice, whichever is earlier.

       F. Said published notice shall state the Petition referred to in Paragraph E., above, shall be

for a hearing to adjudicate the validity of the Petitioner's alleged interest in the property, shall be

signed by the Petitioner under penalty of perjury, and shall set forth the nature and extent of the

Petitioner's right, title or interest in the subject property and any additional facts supporting the

Petitioner's claim and the relief sought.




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       G. The United States may also, to the extent practicable, provide direct written notice to any

person known to have alleged an interest in the property subject to this Order as a substitute for

published notice as to those persons so notified.

       H. Upon adjudication of all third-party interests, this Court will enter a Final Order of

Forfeiture pursuant to 21 U.S.C., § 853(n), in which all interests will be addressed.

       ORDERED this 27th day of May, 2008.


                                                        BY THE COURT:

                                                        s/ RICHARD G. KOPF, JUDGE
                                                        United States District Court




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